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UNI'I`ED STATES DISTRlCT COURT
EASTERN DISTRICT OF NEW YORK

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JOHN DOE.
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Plaintiff,

_against- [154 4020

NEW YORK COLLEGE OF OSTEOPATH'|CMIC '
OF NEW YORK INSTITUTE OF TECHNOLOGY PLAINTIFF DEMANDS

(“NYCOM-NYIT" or “NYCOM”); __ ; TRIAL BY Y
THE NATIONAL BOARD OF OSTEOPATHIQ ;' ‘-,~-i 3m \,,T .
MEDICAL EXAMINERS (“NBOME”); J l ‘e“ ` `
and NORTH SHORE LONG ISLAND JEWISH
PLAINVIEW HOSPITAL (“NS-LIJ”),
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Defendants. gyr§i

Plaintiff, JOHN DOE, by and through his attorneys, Kevin T. Mulhearn, P.C.,

complaining of the Defendants, hereby alleges that:

,|URISDICTION AND VENUE

1. This Court has exclusive jurisdiction over this matter pursuant to 28 U.S.C.
§ 1331 which provides that this Court has subject matter jurisdiction to hear a civil case or action
which arises under the laws of the United States, such that a federal question appears on the face
of the complaint.

2. This Court has supplemental jurisdiction over Plaintiff’s claims under New York
State law, pursuant to 28 U.S.C. § 1367, in that said state claims are inextricably intertwined with
the federal claims in this action. Indeed, the state law claims are so related to the federal claims

in this action that they forrn part of the same case or controversy under Article III of the United

States Constitution.

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3_ Venue is proper in the Eastern District of New York pursuant to 18 U.S.C. §

1965 (c) and 28 U.S.C. § 1391(b), because the claims arise in this Distn`ct and a number of the
Defendants reside in, transact business in, or maintain a principal place of business in this
District.

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4. Plaintiff, JOHN DOE, is an individual residing within the State of New York.
Plaintiff files this action employing an assumed name to preserve his anonymity. He does so in
full consideration of Federal Rules of Civil Procedure 10(a) and i'l(a), which stipulate that the
Complaint name ali the parties. Plaintiff does so given the sensitive and highly personal matters
involved in his action, the likelihood of Defendants` further retaliation against Plaintiff, and
Plaintiii"s vulnerability in disclosure Further, Plaintiff asserts that the Defendants are not
prejudiced thereby, and that the public interest in litigation is not in any way furthered by
requiring Plaintiff to disclose his identity. (See Sealea’ Plaintijj”v. Sealed Defendant, 537 F.3d
185 (2d Cir. 2008)).

5. Defendant, New York College of Osteopathic Medicine of New York Institute of
Technology (“NYCOM-NYIT” or “NYCOM”), is, and at all material times has been, a private
Medical College in the County of Nassau, State of New York. Its business address is Northern
Boulevard, P.O. Box 8000, Old Westbury, New York 11568.

6. Defendant, The National Board of Osteopathic Medical Examiners (“NBOME”),
is an independent, not-for-prot`lt organization with headquarters in Chicago, Illinois, incorporated
under the laws of lndiana. The NBOME is responsible for administering Levels 1, 2 and 3 of the
“Comprehensive 0steopathic Medical Licensing Examination” (“COMLEX"), a series of

national board examinations required for osteopathic physician licensure in the United States.

 

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NBOME maintains executive offices and a national center for clinical skills testing at 101 West
Elm Street, Suites 230 and 150, Conshohocken, Pennsylvania 19428 (as well as Corporate
Ofl`lces at 8765 W. Higgins Rd., Suite 200, Chicago, Illinois 60631-4174).

?. Defendant, North Shore Long Island Jewish Plainview Hospital (“NS-LIJ”) is,
and at all material times has been, an acute care community hospital located at 888 Old Country
Road, Plainview, New York 11803.

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8. Plaintift"s lifelong dream was and is to become a physician.

9. Plaintiff attended New York University, graduating with a degree in psychology in
2007. Subsequently, Plaintiff was accepted into a post-baccalaureate program in Special Science
at the Universin of Pennsylvania.

10. Plaintiff suffers from a constellation of diagnosed attention deficit disorders,
executive function disability, speech and reading fluency disorders, expressive language
dysphasia, and other anxiety-related disabilities, which substantially impair his ability to take
certain examinations without appropriate accommodations to which he is legally entitled, and
which constitute a “disability” under the Americans with Disabilities Act.

11. Plaintiff applied to NYCOM-NYIT to become an osteopathic physician, and was
accepted into its four-year program of studies leading to the degree of Doctor of Osteopathic
Medicine. He enrolled and commenced his studies in July 2008.

12. During Plaintiff’s first two years of study at NYCOM, he passed all his course
work. In point of fact, Plaintiff passed all of his course work and clinical rotations throughout
his course of study, without fail. In addition, throughout his four-year course of studies at

NYCOM, Plaintiff also passed every quarterly standardized exam (largely multiple choice)

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administered in connection with his core clerkship requirements at NYCOM (i.e., every NBOME
COMAT (Comprehensive Osteopathic Medical Achievement Test): each a l to l 1/2 hour long
exams and largely multiple choice.

13. In July 2010, upon Plaintiff’s successful completion of his second year of studies
at NYCOM, he was required to take his first Comprehensive Osteopathic Medical licensing
Examination, Level 1, known as the “COMLEX I” examination COMLEX I is the first of a
series (three tota]) of cognitive exams that NYCOM students are required to pass. These exams
are prepared and administered by the National Board of Osteopathic Medical Examiners
(“NBOME”). The COMLEX I exam addresses the basic mechanisms of health and disease
processes. It is a full day, eight-hour examination consisting of 400 computerized, multiple
choice questions, given in two sections of four-hour blocks, each separated by a 40-minute break.
Plaintiff failed the examination on his initial attempt. Pursuant to the 2010-11 edition of the
NYCOM student handbook, Plaintiff commenced a “COMLEX Level I Mandatory
Admirlistrative Leave of Absence.”

14. Three months later, in October 2010, Plaintiff took the COMLEX I exarnination,
and passed.

15. Having passed COMLEX I, Plaintiff was now officially qualified to work in a
hospital setting. Plaintiff began his third year medical student clinical rotations.

Coerced Medical Leave & Transcrigt Disgute

16. Between October 2010 and June 2011, Plaintiff successfully completed all his
assigned third-year core clinical rotations.

17. ln June 2011, Plaintiff began a lO-week surgical rotation at the NS-LIJ Plainview

branch (the “Hospital”).

 

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18. One morning during this rotation, as Plaintiff was preparing to observe a surgical
procedure, a NS-LIJ Operating Room (“OR”) Scrub Technician told him that the sleeves of the
shirt he was wearing were too long to wear with scrubs. She ordered him to change clothes.
Concerned about the time and the experience awaiting him in the OR, Plaintiff adjusted the
exposed 1" section of his sleeves so they were no longer exposed under the surgical scrubs. He
showed this to the Scrub Technician. He asked her to approve his sartorial adjustment The
Scrub Technician shrugged and replied, “I guess so," and they entered the OR together

19. A few days later, Dr. Rachlin told Plaintiff that the Scrub Technician had
submitted a complaint to NS-LIJ’s Depattment of Medical Education. She claimed that Plaintiff
had not “obeyed" her order to “tuck in your shirt” and not to enter the OR without “proper

lattire.”

20. Plaintiff was alarmed by the Scrub Technician’s account of their conversation
outside the OR. Plaintiff considered it a privilege to be doing a clerkship at this hospital. l-Ie
denied this version of his conversation with the Scrub Technician. Dr. Rachlin agreed to look
into the matter further.

21. About one week later, Plaintiff asked Dr. Rachlin if he had been able to speak
with the Scrub Technician about her report. Dr. Rachlin did not appear to have contacted her.

l 22. Months later, Plaintiff asked Dr. Jeger if he knew whether the issue involving the
Scrub Technician had yet been resolved, and what the status of her complaint was. Dr. Jeger and

NYCOM Dean Mary AnnAchtziger wanted plaintiff that if he asked Dr. Rachlin about this

incident again, he would likely fail the surgical clerkship.

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23. On or about June 29, 2011, about half-way through Plaintiff’s NS-LlJ surgical 7
rotation, Plaintiff was summoned to a meeting with Dr. Gary Rachlin, Director of Medical
Education at NS-LIJ.

24. Dr. Rachlin indicated he found Plaintiff to have undesirable speech patterns. He
criticized what he referred to as Plaintiff’s “anxious” way of speaking Dr. Rachlin told Plaintiff
that his speech was “incoherent.”

25. Dr. Rachlin told Plaintiff that he intended to share these criticisms with
Dr. Abraham Jeger, Professor and Associate Dean of Clinical Education at NYCOM-NYIT. Dr.
Rachlin also said he planned to check Plaintiff’s academic record for anything “glaring.” Upon
information and belief, Dr. Jeger had illegally disclosed to Dr. Rachlin the contents of a written
evaluation of Plaintiff prepared for his Psychiatry rotation, which made comments on Plaintiff’s
anxiety issues, a disclosure that violated HIPAA, FERPA and other statutory privacy protections.

26. Two days later, on or about July 1, 2011, Plaintiff met with Dr. Rachlin, Dr. Jeger,
and unnamed others at the Hospital. Dr. Jeger told Plaintiff that he expected that Plaintiff would
be “anxious” and “have problems” throughout this surgical rotation, were he to continue. Both
Dr. Rachlin and Dr. Jeger gave Plaintiff two options: Plaintiff could either agree to a “voluntary”
medical leave of absence immediately, or he could fail the surgical clerkship.

27. Plaintiff discussed this proposal with NYCOM’s Assistant Clinical Dean,

Dr. Leonard Goldstein, who told Plaintiff that he did not see a medical leave as necessary.

28. Dr. Goldstein told Plaintiff he believed Dr. Jeger was determined to force Plaintiff
to choose between these two options. He urged Plaintiff to take the leave of absence ordered by
Dr. Jeger, and take the two-part COMLEX II examination during this leave of absence. In

support of this scenario, Dr. Goldstein pointed out that there was no rule in the student handbook

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preventing students from taking any COMLEX examination when they were on a medical leave
of absence.

29. Plaintiff learned that Dr. Saha Panchal, the attending physician and preceptor on
staff at NS-LIJ, who directly supervised Plaintiff in his surgical clerkship, praised his
performance during this rotation and awarded him a passing evaluation

30. Plaintiff was aware that he was passing the NS-LIJ surgical rotation at the time he
was forced to cut short his surgical rotation, coerced by Dr. Jeger and Dr. Rachlin into taking a
“voluntary” medical leave over Flaintiff’s perceived and actual disabilities

31. Although routinely provided to other students, NYCOM refused to let Plaintiff
examine his surgical rotation evaluation unless he first obtained permission from Dr. Goldstein,
NYCOM explaining that this was due to the “unique nature" of Plaintiff’s circumstances

32. Dr. Goldstein refused to include this evaluation in Plaintiff’s academic file,
despite school practice of including all evaluations. Dr. Goldstein agreed to give Plaintiff a copy
of the evaluation only after Plaintiff pointed out that he would need it to explain the medical
leave of absence to the licensing agency.

33. Plaintiff was deeply ashamed that he was being punished because of his medical
disabilities, even though they did not affect his academic or clinical performance

34. lnstead of receiving appropriate support, guidance and encouragement to manage
Plaintiff’s perceived and actual physical and neurological disabilities, Plaintiff was ridiculed.
isolated, and threatened by the NYCOM and NS-LIJ administrators and faculty. Their actions
further exacerbated his anxiety-related disabilities

35. Under the circumstances, Plaintiff felt that he had no choice but to consent to the

“voluntary” medical leave of absence, which was, in reality, mandatory.

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36. Dr. Jeger assured Plaintiff that if he agreed to the medical leave of absence,
Plaintiff’s transcript would legitimately reflect the fact that he had successfully completed -- and
passed -- the six week surgical rotation. Dr. Jeger explained that Plaintiff could finish the rest of
this rotation later, without prejudice to his academic standing Nevertheless, Plaintiff eventually
discovered later that he had received credit for only five weeks, rather than the six weeks to
which he was entitled and which he was, in fact, promised by Dr. Jeger.

37. Worse, Plaintiff’s transcript falsely stated that Plaintiff had withdrawn from his
surgical rotation and then it, implying that Plaintiff had performance or other issues. Plaintiff
had actually received partial credit, and ultimately received full credit after he had completed the
course, following his coerced medical leave of absence.

38. Plaintiff pointed out this transcript error to Assistant Dean Felicia Bruno, who
agreed that the transcript was incorrect Nevertheless, his transcript was never corrected and this
error is still displayed on Plaintiff’s official academic record.

39. Recalling that Dr. Goldstein had encouraged Plaintiff to take the COMLEX II
exam during his mandatory medical leave of absence, Plaintiff registered for the COMLEX lI CE
exam. However, shortly after Plaintiff completed his registration, he discovered suddenly that he
had been tie-registered by NYCOM. Plaintiff asked Dr. Jeger the reason for this decision.

Dr. Jeger replied, “If you took the [COMLEX ll CE] exam [while on medical leave] and failed,

you would blame it on being sick. And if you passed, you would say you were healthy.”

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Plaintiff’s Disabilities: Yellin Center StudL September 23, 2011

40. During the summer and fall of 2011, Plaintiff sought additional treatment and
insight into his disabilities. Under the care of Dr. Leonard Adler, M.D. (“Dr. Adler”), Professor
of Psychiatry and Director of the Adult ADI-ID Program at the NYU School of Medicine, and in
conjunction with a comprehensive neuropsychological evaluation performed by Dr. Paul Yellin
and Dr. Florence Myers, Ph.D., Plaintiff was diagnosed with the following conditions:

a) Attention Deficit Hyperactivity Disorder
b) Generalized Anxiety Disorder
c) DEF (Deficits in Executive Functioning)

d) Cluttering (fluency speaking and expressive language dysphasia disorders)

41 . These conditions slow down Plaintiff’s written and verbal testing speed.
However, they have no effect on his intellectual abilities or acumen, as reflected in Plaintiff’s
successful academic and clinical performance at NYCOM throughout his course of studies at
NYCOM.

42. The Yellin Center assessment, dated September 23, 2011 (the “Yellin report”)
(Exhibit A) concluded that “in our view, your struggles do constitute a disability significant
enough to qualify for accommodations under the Americans with Disabilities Act,” including an
extension of time for all exams to at least two times the standard allotment to accommodate
Plaintiff’s disabilitiesi which substantially impair his reading fluency, and an advanced warning
of at least five to 10 minutes before being called on in rounds (id. at p.16).

43. The Yellin report noted that “it is clear that [Plaintiff] possesses a number of
significant neurodevelopmental strengths that can help him successfully navigate through his
medical school curriculum (id. at p.6). His abilities include higher order cognition, reasoning,

and logical thinking skills, solid problem solving skills uniquely tailored to clinical situations,

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and mental work stamina.” (Id.)

NYCOM-NYIT’s Threats of Retaliation, lntimidation, and Coercion Related to Plaintiff’s
Perceived and Actual Disabilities

44. During his medical leave, Plaintiff also met with NYCOM’s School Psychiatrist,
Dr. Sergei Belkin (“Dr. Belkin”). Dr. Belkin warned Plaintiff that if he brought up his anxiety-
related issues to NYCOM-NYIT, he would be dismissed from the school. Dr. Belkin repeated
this warning to Plaintiff’s treating psychiatrist, Dr. Adler.

45. Dr. Belkin's warning left Plaintiff again feeling further isolated and ridiculed,
aggravating even further his anxiety-related disabilities.

46. After being forced out of his surgical rotation by the NYCOM and NS-LIJ faculty,
Plaintiff was now threatened with expulsion if he discussed his disabilities with anyone at
NYCOM.

47. The combination of forced medical leave, deregistration from COMLEX, and the
psychiatrist’s warning that the school would dismiss Plaintiff upon news of any mental health
issues were evidence to Plaintiff and his healthcare providers that he was being singled out and
that he should take advantage of the first opportunity resume his classes.

48. Plaintiff was allowed to return to his studies at NYCOM in September 2011, and

had successfully completed his third- and fourth-year rotations by October 2012.

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COMLEX II Exams: Reasonable Accommodation, Hostile Educational Environment and

Retaliato§y Discrimination Issues

49. Plaintiff completed all his course and clinical clerkship requirements for
graduation from NYCOM. However, to graduate, Plaintiff was required to take, and pass, two
more examinations, COMLEX ll CE and COMLEX ll PE, which he had intended to take during
his forced medical leave of absence.

50. The COMLEX ll CE exam consists of eight hours of testing, given in two
sections of four-hour blocks each on a single day. COMLEX ll CE is a problem-based exam that
assesses knowledge of clinical concepts and medical decision-making

51. The COMLEX II PE examination, on the other hand, is a clinical skills exam
administered over seven hours. For this exam, students perform live evaluations of multiple
“patients” and write their comments out by hand. The test is strictly timed. Both COMLEX II
CE and COMLEX II PE are scored on a “Pass/Fail” basis.

52. Given his now well-documented difficulties with time-sensitive tasks like test
taking, Plaintiff asked NYCOM for permission to apply for appropriate and reasonable testing
accommodations he needed for the two upcoming COMLEX II exams. Unlike the difficult
course-specific exams he had been taking through medical school and the relatively short
COMAT exams (which are l to 1 1/2 hours long), which Plaintiff passed successfully in every
instance during his four years at NYCOM, the two COMLEX II exams are far more extensive -
a full day of taxing, intense time-sensitive testing where accommodation of Plaintiff’s anxiety,
reading, and speech fluency disabilities was essential to his successful performance

53. Because of the Defendants’ record of discrimination against Plaintiff for
perceived and actual disabilities, and the retaliatory discrimination, intimidation, coercion and

hostility to which Plaintiff had already been subjected, the symptoms of Plaintiff’s disabilities

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grew considerably worse. Plaintiff’s reasonable accommodation requests regarding the
COMLEX 2 exam administrations thus became even more urgent, and indispensable to his
successful exam performance

54. However, when Plaintiff brought the subject up regarding his requests for
reasonable accommodations, which the NYCOM Student Handbook states is NYCOM policy,
NYCOM Assistant Dean Felicia Bruno told Plaintiff that he would be dismissed if he did not
attempt both the COMLEX II exams before his stated graduation date of December 31, 2012.

55. Dean Bruno told the Plaintiff that that rule appeared in the NYCOM student
handbook, which was given to new students when they enrolled.

56. Dean Bruno told the Plaintiff that three NYCOM students had actually been
dismissed from NYCOM for not registering for COMLEX ll on time.

5?. The NYCOM student handbook contained no requirement that a student take the
COMLEX exams by their graduation date. The 2011-12 edition of the NYCOM Student
Handbook at p. 31 states: “ln order to graduate, all students must have passed COMLEX Level II
(CE and PE).” (Exhibit B)

58. Dean Bruno was wrong. Plaintiff’s graduation would be delayed until after he
passed the COMLEX II exams.

59. Plaintiff was deeply troubled by NYCOM’s failure and refusal to support what
were by now his well-documented medical issues, in open defiance of stated school policy,
choosing instead to threaten him with expulsion yet again, Defendant’s ongoing dismissive,
hostile, and abusive conduct toward Plaintiff and the cumulative effects of that conduct on other
disabled NYCOM students may not have been NYCOM’s official policy, but it was NYCOM‘s

official practice. Realizing this, Plaintiff suffered further symptoms of anxiety.

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60. Plaintiff’s consequential injuries were further exacerbated by his knowledge, upon
information and belief, of inappropriate conduct of a personal and intimate nature by individual
faculty at NYCOM, of which Defendant was or should have been aware, that sorely victimized
individual NYCOM students

61. Another student in Plaintiff’s class who developed cancer and was too ill to
complete his rotation told Plaintiff that Dr. Goldstein had told him he would receive full credit
for that incomplete rotation

62. Said conduct, it is alleged, contributed to a culture that enabled and fostered
Defendant’s insensitivity towards Plaintiff, and indifference to NYCOM students with special
needs.

63. Complying with Dean Bruno’s false and misleading instructions, Plaintiff
registered for the COMLEX II exams. Plaintiff took both the COMLEX ll PE and COMLEX II
CE exams, under great duress, in December 2012, with no accommodation whatsoever. He
failed both exams.

64. In January 2013, Plaintiff began a mandatory six month COMLEX Leave of
Absence.

65. In April 2013, Plaintiff registered for the COMLEX II PE examination

66. Dr. Errichett, Director of The Institute of Clinical Competence, urged Plaintiff to
take the COMPLEX II PE exam with all appropriate and necessary accommodations
Dr. Em`chett told Plaintiff that even if an applicant did not have a record of receiving
accommodations, the National Board of Osteopathic Medical Examiners (“NBOME”) had a

record of providing accommodations to applicants with diagnosed disabilities.

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67. However, because of pressure placed on him by NYCOM, Plaintiff took the
COMLEX ll PE examination without accommodations, and failed.

68. ln May 2013, Plaintiff applied for accommodations to NBOME for extended time
to take the multiple choice COMLEX ll CE exam because of his diagnosed and continued
disabilities with respect to reading fluency and reading rate.

69. With no support from NYCOM, and despite Dr. Yellin’s professional opinion and
written report. submitted to Dean Bruno, encouraging NYCOM to support Plaintiff’s application
to NBOME for an accommodation NBOME denied Plaintiff’s accommodation request
approximately six weeks later.

70. ln June 2013, to accommodate Plaintiff’s expressive language dysphasia, Plaintiff
applied to NBOME for extended time for the COMLEX II PE exam in which to complete patient
notes. NBOME did not respond.

71. Plaintiff followed up with NBOME, which responded that it did not address
Plaintiff’s accommodation request because, it thought that Plaintiff’s application was a duplicate
request for COMLEX II CE accommodation rather than a separate accommodation request for
the COMLEX ll PE. NBOME claimed a “mix up” resulting in NBOME’s failure to process
Plaintiff’s requested accommodations to complete the COMLEX ll PE (NBOME’s own
guidelines provide that it has to process accommodations applications within eight weeks.
NBOME failed to do so in Plaintiff’s case).

72. Plaintiff persisted in his efforts to obtain an accommodation from NBOME, which
finally informed Plaintiff that it might consider processing his request by the impending
September 5, 2013 test date, at the same time asking Plaintiff to submit additional information

documenting his accommodation needs.

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7 3. Plaintiff complied with NBOME’s request to submit additional documentation
but his submission was rejected by an NBOME official who informed him that it would take too
long for the organization to consider the material, and that NBOME intended to use its notes
from Plaintiff’s original COMLEX 2 CE application for accommodation

74. Plaintiff, in tum, attempted to explain that his requests for each exam (COMLEX
lI CE, and COMLEX II PE) were qualitatively different, and based on distinctly different
disabilities. With respect to the written CE examination Plaintiff requested extended time for
the eight-hour test due to a slow reading rate, and with respect to the verbal (interview patients
and write “SOAP” notes) PE examination Plaintiff had requested extended time to accommodate
his expressive language dysphasia (“cluttering”). Plaintiff’s explanations notwithstanding,
NBOME remained steadfast in its rejection of Plaintiff’s accommodation requests for both the
CE and PE COMLEX ll exams.

75. On or about August 30, 2013, Plaintiff’s counsel submitted a letter to NYCOM-
NYIT’s Office of Disability Services (“ODS”), requesting that Plaintiff be allowed to take a six-
month medical leave of absence to allow him to take both the COMLEX II CE and COMLEX ll
PE exams by February 2014. [The letter mistakenly requested a 2013 exam date, but its
intention was manifestly clear.] The letter was supported by medical evidence documenting
Plaintiff’s disabilities and their specific impact on Plaintiff’s ability to take the specified tests in
question Specifically, Dr. Leonard A. Adler, Director of the Adult ADHD Program, and
Professor of Psychiatry, NYU School of Medicine, who had been treating Plaintiff for his
disabilities since March, 2011, provided an extensive and detailed report of Plaintiff’s
disabilities, and the accommodations that Plaintiff’s disabilities necessitated Dr. Adler’s report,

dated August 19, 2013, and annexed hereto as Exhibit C, accompanied Plaintiff’s ODS

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submission of current reference

76. lmmediately thereafter, Plaintiff met with Alyssa Aprovenzano, a representative at
NYIT Office of Disability Services (ODS). Ms. Aprovenzano, who had spoken with Plaintiff’s
learning specialist (Dr. Yellin), informed Plaintiff that he was most certainly a student with a
disability deserving of, and entitled to, reasonable accommodations relative to the COMLEX II
exams. She noted that she was “shocked” by NYCOM’s treatment of Plaintiff’s issues, and that
ODS would attempt to rectify the substantial damage that had already been done. Specifically,
ODS would try to get Plaintiff the requested accommodations for the COMLEX ll exams
scheduled for September 5, 2013, or, if not possible, for a later date, If that could not be
arranged, Ms. Aprovenzano assured Plaintiff that ODS would actively support Plaintiff’s request
for a medical leave of absence to take the COMLEX II exams at a later date, and secure the
appropriate and necessary NBOME testing accommodations.

77. Continually stymied by every effort to secure the requisite accommodations in
order to graduate and advance his career in medicine, plaintiff was determined to try to secure
reasonable accommodations required for him to succeed in the COMLEX II exams. On
September 19, 2013, Plaintiff contacted the dean of NYCOM, May Ann Achtiziger, regarding his
August 30, 2013 application to the ODS for a leave of absence, to maintain his good standing at
NYCOM.

78. In an email dated, September 20, 2013, Dean Achtiziger denied Plaintiff’s request
for medical leave specifically stating that he was not eligible for medical leave because, he was
on COMLEX leave, and that this particular point had been made to him numerous times.

79. Dean Achtiziger further claimed that Plaintiff was not an active student when he

requested the medical leave, However, Plaintiff was enrolled in a class through the school and

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had paid tuition for that class at the time medical leave was formally requested Although
Plaintiff made several informal requests for leave numerous times before, no interactive process
with NYCOM-NYIT (i.e., a detailed conversation with Plaintiff and NYCOM-NYIT faculty and
administration about Plaintiff’s disabilities, needs, concerns, and accommodation requests)
ensued. The leave was requested so that Plaintiff could put himself in the best position to
succeed on the COMLEX 2 exams, as well as have sufficient time to seek reasonable
accommodations from NBOME. NYCOM’s denial was issued without considering Plaintiff’s
special circumstances, and disabilities, though Plaintiff’s accommodation requests would not in
any way fundamentally alter NYCOM's programs or activities, or the nature of its business. It
would not constitute “undue hardship” of any sort.

80. In the absence of any resolution with either NBOME, with respect to his test
accommodation request, or NYCOM, with respect to his request for a medical leave of absence,
Plaintiff sought help from a civil rights attomey, William Goren, (“Mr. Goren”) who commenced
a dialogue with NYCOM’s Assistant General Counsel, Jordan Thompson III (“Mr. Thompson").
Mr. Goren asked Mr. Thompson to ensure that NYCOM not dismiss or de-register Plaintiff while
he filed a complaint with the U.S. Department of Education’s Office of Civil Rights (“OCR"),

allowing the OCR time to investigate

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Plaintiff’s Internal Grievance Petition Asserting Disability Discrimination

and Defendant’s Respgnses
81. On or about September 24, 2013, Plaintiff filed with NYCOM an internal

grievance petition alleging that NYCOM’s COMLEX leave policy prohibiting a student on
COMLEX leave from simultaneously being on another form of leave (specifrcally. a medical
leave) under any circumstance and NYCOM’s policy of strictly and without exception linking
graduation with advance completion of the COMLEX II exams, violates the Americans with
Disabilities Act of 1990, by discriminating on the basis of disability Simply put, NYCOM, as a
place of public accommodation (i.e., a place of education) that is subject to Title III of the ADA
(42 U.S.C. Sec. 12181(?) (J)), “discriminates against a person with a disability when it fails to
make reasonable modifications in policies, practices, or procedures, when those modifications
are necessary to afford the goods, services, facilities, privileges, advantages, or accommodation
to individuals with disabilities, unless the entity can demonstrate that the modifications
fundamentally alters the nature of the goods, services, facilities, privileges, advantages, or
accommodations.” (42 U.S.C. Sec. 12182(b)(2)(A)(ii))

82. Defendant`s conduct herein also violates the disability discrimination provisions
of Section 504 of the Rehabilitation Act of 1973, an Act to which Defendant is subject, as it is a
recipient of federal financial assistance (29 U.S.C. Sec. 794(a))

83. As a matter of law, NYCOM cannot simply rely on a stated policy in the face of
Plaintiff’s request for reasonable accommodations _ in terms of both his request for medical
leave while simultaneously on COMLEX leave, and to help facilitate COMLEX II test
accommodations It must, at the very least, endeavor to see whether the requested modifications
are possible without undue hardship (See PGA Tour Inc. v. Marn'n, 532 U.S. 661,690-91(2001)).

It is indisputable that Defendant NYCOM-NYIT did not meet that minimal investigatory

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standard.

84. On October 21, 2013, in response to Plaintiff’s internal grievance petition,
NYCOM dismissed Plaintiff’s disability discrimination concems, and warned Plaintiff that if he
did not receive the requested accommodations from NBOME and pass both the COMLEX II PE
and COMLEX II CE exams by January 31, 2014, he would be dismissed from the school.

85. In sum, every effort that Plaintiff has made to achieve nothing more than passage
of his test requirements for graduation with reasonable accommodations in light of his
disabilities has been met by Defendants’ dismissiveness, hostility, and retaliation

86. Subsequently, in correspondence dated January 31, 2014, NYCOM’s counsel
suggested that NYCOM “might not” dismiss Plaintiff if it was provided with a copy of Plaintiff’s
OCR complaint which was filed (with OCR) on January 29, 2014.

87. On January 31, 2014, Messrs. Goren and Thompson spoke regarding Plaintiff’s
status. Mr. Goren informed Mr. Thompson that NBOME would require at least three months in
advance of a COMLEX II testing date to consider (or reconsider) accommodation requests, and
that scoring for the COMLEX II PE exam would take an additional 10 to 12 weeks. That is, it
was literally impossible for Plaintiff to have his accommodation request considered and decided
by NBOME, take the exams, and secure the exam results, for at least 22 to 24 weeks beyond
NYCOM’s imposed January 31, 2014 deadline

88. As a direct and proximate result of Defendants’ conduct, as stated herein, Plaintiff
suffered, and continues to suffer, substantial harm and darnages, including, but not limited to
severe emotional distress, mental anguish, pain and suffering, loss of tuition fees and expenses
incurred, loss of the value of a medical degree and/or medical license, and lost earnings as a

result of his loss of a medical degree and!or license.

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COUNT ONE:
AGAINST DEFENDANT NYCOM-NYIT:

VIOLATION OF TI-IE AMERICANS WITH DISABILITIES ACT OF 1990 j“ADA”!

89. Plaintiff repeats and realleges paragraphs 1 through 88 herein, as if each has been
fully set forth at length.

90. The Americans with Disabilities Act notes that individuals with disabilities
encounter discrimination, which includes “exclusionary standards and criteria," and “relegation
to lesser services, programs, (and) activities.” 42 U.S.C. § 12101(a) (parenthesis added). The
Act’s purpose is to reflect “a clear and compelling national mandate for the elimination of
discrimination against individuals with disabilities.” 42 U.S.C. § lZlOl(b).

91. The ADA, provides further that “no individual shall be discriminated against on
the basis of disability in the full and equal enjoyment of the goods, services, facilities, privileges,
advantages, or accommodations of any place of public accommodation by any person who owns,
leases (or leases to), or operates a place of public accommodation." 42 U.S.C. § 12182 (a).

92. Upon information and belief, Defendant NYCOM-NYIT is subject to the
provisions of the ADA. Defendant is a place of public accommodation _ i.e., a place of
education _ that must therefore comply with the terms and provisions of Title III of the ADA.
42 U.S.C. § 12181(7) (J).

93. Plaintiff has disabilities, recognized as such under the Statute. That is, Plaintiff
has physical or mental impairments, which substantially interfere with major life activities,
among them, speaking, learning, reading, concentration, thinking, communicating and working
(42 U.S.C. § 12102(1)(A) and (2)), and, as such, is entitled to reasonable accommodations and

equal opportunities in both an educational and employment contextl

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94. At all material times, NYCOM-NYIT had notice of Plaintiff’s disability, but
denied Plaintiff the opportunity to participate in or benefit from its programs, and activities, and
failed or refused to provide Plaintiff with reasonable accommodations

95. Reasonable accommodations could easily have been provided to Plaintiff by
NYCOM-NYIT in a manner that would not have involved any undue burden or hardship, or
fundamentally alter its program and activities in any way.

96. Defendant NYCOM-NYIT “discriminates against a person with a disability when
it fails to make reasonable modifications in policies, practices, or procedures, when those
modifications are necessary to afford the goods, services, facilities, privileges, advantages, or
accommodation to individuals with disabilities, unless the entity can demonstrate that the
modifications fundamentally alters the nature of the goods, services, facilities, privileges,
advantages, or accommodations (42 U.S.C. § 12182(b)(2)(A)(ii)).

97. NYCOM-NYIT is also guilty of discrimination under this statute when it
dismisses from school the Plaintiff who was wrongfully denied a disability accommodation by a
third party administering an exam _ the COMLEX II CE and PE exams administered by
NBOME _ which Defendant requires as a condition precedent to graduation, thus condoning
that discrimination .

98. Defendants’ failure or refusal to provide Plaintiff with reasonable
accomrnodations, and fair access to its programs, and its condoning of the discrimination of third
parties (NBOME) by taking adverse action against Plaintiff based thereon, is discriminatory, thus
violating both the letter and spirit of the ADA.

99. Wherefore Plaintiff suffered substantial damages as a direct and proximate result

of Defendants’ conduct, and requests relief as set forth below.

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COUNT TWO:
AGAINST DEFENDANT NYCOM-NYIT
VIOLATION OF TI~[E AMERICANS WITH DISABILITIES ACT OF 1990 (“ADA”),

42 U.S.C. § 12182§§!§1[§A!§i[: CONDONING TH]RD PARTY DISCRIMINATION

100. Plaintiff repeats and realleges paragraphs l through 99 herein, as if each has been
fully set forth at length.

101. ADA, 42 U.S.C. § l2182(b)(l)(A)(i) provides that “[i]t shall be discriminatory to
subject an individual or class of individuals on the basis of a disability or disabilities of such
individual or class, directly, or through contractual, licensing, or other arrangements, to a denial
of the opportunity of the individual or class to participate in or benefit from the goods, services,
facilities, privileges, advantages, or accommodations of an entity.”

102. Upon information and belief, Defendant NYCOM-NYIT is a place of public
accommodation (i.e., place of education), and is thus subject to, and must comply with the above
provisions of the ADA, and, for that matter, all provisions of Titlc III of the ADA (42 U.S.C.

§ 12181(7)(])).

103. Plaintiff is an individual (as defined by the ADA) with a disability (or perceived
disability), which substantially interferes with major life activities: speaking, learning, reading,
concentration, thinking, communicating and working (42 U.S.C. § 12102(2)(A)), and, as such, is
entitled to reasonable accommodations and equal opportunities in both an educational and
employment context.

104. Plaintiff petitioned NBOME for reasonable accommodations to take the
COMLEX 2 exams. NBOME wrongfully denied those requests. NBOME has an independent
obligation under the ADA to ensure that its exams are constructed and administered in such a

way as to allow persons with disabilities to demonstrate their true ability and not their

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disabilities. Defendant NYCOM-NYIT has its own obligation to ensure that it does not condone
discrimination against persons with disabilities by taking adverse action. such as dismissal from

school, against a student wrongfully denied a disability accommodation request by a third party

(i.e., NBOME).

105. At all material times, Defendant NYCOM-NYIT contracted with NBOME to
administer the COMLEX II exam, and implemented adverse actions against Plaintiff in regard
thereto. Plaintiff was denied the opportunity to participate in or benefit from any reasonable
accommodation with respect to said exam that Defendant NYCOM-NYIT should have provided,
or that the party, NBOME, with which NYCOM-NYIT contracted or collaborated in regard to
said exarn, should have provided.

106. Reasonable accommodations could easily have been provided to Plaintiff by both
NYCOM-NYIT and NBOME in a manner that would not have involved any undue burden or
hardship, or fundamentally alter its programs and activities.

107. Defendant’s failure or refusal to provide Plaintiff with reasonable
accommodations directly or contractually through other parties, violates both the letter and spirit
of the ADA.

108. Wherefore Plaintiff suffered damages as a direct and proximate result of
Defendants’ conduct, and requests relief as set forth below.

COUNT THREE:
AGAINST DEFENDANT NYCOM-NYIT
AN[ERICANS WITH DISABILIT[ES ACT OF 1990 (“ADA”), § 12203(3) and (b):
RE'I`ALIATIONa INTERFERENCE, COERCION OR INTIMIDATION
109. Plaintiff repeats and realleges paragraphs 1 through 108 herein, as if each has

been fully set forth at length.

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llO. The ADA § 12203 provides:

1. Retaliation
No person shall discriminate against any individual because such
individual has opposed any act or practice made unlawful by this
chapter or because such individual made a charge, testified,
assisted, or participated in any manner in an investigation,
proceeding, or hearing under this chapter.

2. Interference, coercion, or intimidation
lt shall be unlawful to coerce, intimidate, threaten, or interfere with
any individual in the exercise or enjoyment of, or on account of his
or her having exercised or enjoyed, or on account of his or her
having aided or encouraged any other individual in the exercise or
enjoyment of, any right granted or protected by this chapter.

111. Plaintiff is an individual with disabilities within the contemplation of the ADA.

112. Defendant is subject to the Act. Upon information and belief, Defendant
NYCOM-NYIT is a place of public accommodation (i.e., place of education), and is thus subject
to, and must comply with the above provisions of the ADA, and, for that matter, all provisions of
Title III of the ADA (42 U.S.C. § 12181(7)(])).

113. At all material times, NYCOM-NYIT had notice of Plaintiff’s disability.

114. Pursuant to ADA § 12203(a) and (b) excerpted above, Defendant retaliated
against Plaintiff, and coerced, intimidated, threatened, or interfered with the Plaintiff because,
Plaintiff requested accommodations, and was opposed to Defendants’ unlawful acts and
practices, because Plaintiff ultimately filed an internal grievance petition, because Plaintiff aided
or encouraged other individuals victimized by Defendants’ unlawful acts and practices in the
exercise of any right protected by this statute, and because Plaintiff acknowledged an abiding
concern for other NYCOM students victimized by Defendant’s bad acts with respect to this

statute and other laws.

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115. Specifically, Defendant forced Plaintiff to take a medical leave of absence.
116. Defendant entered a false record of Plaintiff’s clinical surgical course in his

academic transcript

117. Defendant compelled PlaintiH to take the COMLEX ll exam without reasonable
accommodations

118. Defendant repeatedly doubted and mocked Plaintiff’s disabilities, and threatened
Plaintiff against pursuing accommodations at the risk of school expulsion.

119. Defendant threatened expulsion/school dismissal if Plaintiff did not take the
COMLEX II exams by a certain date.

120. Defendant de-registered Plaintiff, thus preventing Plaintiff from taking the
COMLEX II exam while on medical leave.

121. Defendant repeatedly refused to discuss, process, or facilitate Plaintiff’s
accommodation requests.

122. Wherefore Plaintiff suffered substantial damages as a direct and proximate result
of Defendant’s conduct, and requests relief as set forth below.

COUNT FOUR:
AGAINST DEFENDANTS NYCOM-NYIT AND NBOlV[E:

VIOLATION OF THE REHABILITATION ACT OF 1973, SECTION 504§3[

123, Plaintiff repeats and realleges paragraphs 1 through 122 herein, as if each has
been fully set forth at length.
124. Section 504(a) of the Rehabilitation Act of 1973 (29 U.S.C. § 701, et seq.)
provides in pertinent part that:
No otherwise qualified individual with a disability shall, solely

by reason of his or her disability, be excluded from the
participation in, be denied the benefits of, or be subjected to

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discrimination under any program or activity receiving federal
financial assistance

125. Section 504(a) of the Rehabilitation Act of 1973 thus prohibits any program
receiving federal financial assistance from discriminating against a qualified individual with a
disability solely by reason of, or on the basis of his disability

126. Upon information and belief, Defendants NYCOM-NYIT and NBOME are
recipients of federal funds: i.e., financial assistance within the contemplation of the Statute, and
are thus subject to the provisions of the Rehabilitation Act.

127. Plaintiff is a qualified individual as defined by the Rehabilitation Act, with
disabilities recognized thereunder, and, as such, is entitled to reasonable accommodations
program accessibility, and equal opportunities in both an educational and employment context.

128. Plaintiff is a qualified individual as defined by the Rehabilitation Act. That is,
with or without reasonable accommodation, Plaintiff has the ability to perform the essential
functions, program, and activities of a medical student and physician, the very functions,
program, and activities administered by Defendants

]29. At all material times, Defendants NYCOM-NYIT and NBOME had notice of
Plaintiff’s disability, but denied Plaintiff the opportunity to participate in or benefit from its
programs, and activities, and failed or refused to provide Plaintiff with reasonable
accommodations

130. Defendants NYCOM-NYIT and NBOME easily could have provided reasonable
accommodations and fair access to its programs to Plaintiff without requiring significant
difficulty or expense, or undue hardship.

131. Defendants’ failure or refusal to provide Plaintiff with reasonable

accommodations, and fair access to its programs is discriminatory, thus violating both the letter

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and spirit of the Rehabilitation Act.
132. Wherefore Plaintiff suffered substantial damages as a direct and proximate result
of Defendants’ conduct, and requests relief as set forth below.
COUNT FIVE:
AGAINST DEFENDANT NYCOM-NYIT:
VIOLATION OF THE REHABILITATION ACT of 1973 IMPLEMENTING
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133. Plaintiff repeats and realleges paragraphs l through 132 herein, as if each has
been fully set forth at length.

134. The regulations of The Rehabilitation Act of 1973, specifically, 45 C.F.R. §
84.4(b)(v),defines discriminatory actions that are prohibited as those that:

Aid or perpetuate discrimination against a qualified
handicapped person by providing significant assistance to an
agency, organization, or person that discriminates on the basis
of handicap in providing any aid, benefit, or service to
beneficiaries of the recipients program or activity.”

135. Defendant NYCOM-NYIT did aid or perpetuate discrimination against Plaintiff, a
qualified handicapped person within the contemplation of the statute, and provided significant
assistance to Defendant NBOME, which did in fact discriminate against Plaintiff on the basis of
handicap (i.e., disability).

136. Wherefore Plaintiff suffered substantial damages as a direct and proximate result
of Defendant’s conduct, and requests relief as set forth below.

COUNT SIX: AGAINST DEFENDANT NYCOM-NYIT:
HOSTILE EDUCATIONAL ENVIRONNIENT

 

137. Plaintiff repeats and reiterates paragraphs 1 through 136 as if fully set forth

herein.

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138. Following a successful academic career at New York University and the
University of Pennsylvania, Plaintiff applied for and was granted admission to NYCOM-NYIT.

139. Like any other enrolled student, Plaintiff had a right to expect that NYCOM-
NYIT would honor its obligation to provide him with a quality medical education, provide him
with a supportive and collegial learning environment, make appropriate and reasonable
allowances and accommodations for any disability and do nothing to interfere with Plaintiff’s
legitimate pursuit of his educational aspirations.

140. On the contrary, Defendant NYCOM-NYIT engaged in an ongoing pattern of
harassing, abusive, coercive, and threatening behavior towards Plaintiff. Defendant’s conduct
materially impacted Plaintiff’s educational experiencel exacerbated his learning issues and
anxiety disorders, destroyed his confidence and rendered his passage of the COMLEX exams
virtually impossible That harassment had the effect of denying to Plaintiff any of NYCOM-
NYIT’s accommodations, advantages, facilities, or privileges to which Plaintiff was rightfully
entitled.

141. Defendant NYCOM-NYIT, by its ongoing behavior, significantly damaged
Plaintiff, and many others known to plaintiff, by creating a hostile educational enviromnent that
was pervasive Defendant knew or should have known of the harassment and hostile educational
environment, failed or refused to take action reasonably calculated to end the same, and failed or
refused to implement effective preventive and remedial means to curb said tortious conduct.

142. Wherefore Plaintiff requests relief as set forth below.

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